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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

 DAVID FLOWERS,                                       CASE NO. 2:17-cv-02739-RMG-MGB

                                Plaintiff,

        v.                                           DEFENDANTS JEFF ANDERSON AND
                                                    JEFF ANDERSON & ASSOCIATES, P.A.’S
 JEFF ANDERSON, JEFF ANDSERON &                       RESPONSES TO LOCAL RULE 26.01
 ASSOCIATES, P.A., AND GREGG MEYERS,                        INTERROGATORIES

                                Defendants.

       COME NOW Defendants Jeff Anderson and Jeff Anderson & Associates, P.A.

(collectively the “JAA Defendants”), by and through their attorneys, and hereby respond to the

Interrogatories required by Rule 26.01 of the Local Civil Rules (D.S.C.) for the United States

District Court for the District of South Carolina as follows:

      (A)    State the full name, address and telephone number of all persons or legal entities
who may have a subrogation interest in each claim and state the basis and extent of said interest.

       RESPONSE: The JAA Defendants are not aware of any persons or entities that may
have a subrogation interest.

       (B)     As to each claim, state whether it should be tried jury or nonjury and why.

      RESPONSE: Plaintiff’s first three causes of action are actions at law and, therefore,
may be triable to a jury. Plaintiffs’ fourth cause of action for Declaratory Judgment is not
properly triable to a jury

        (C)     State whether the party submitting these responses is a publicly owned company
and separately identify: (1) each publicly owned company of which it is a parent, subsidiary,
partner, or affiliate; (2) each publicly owned company which owns ten percent or more of the
outstanding shares or other indicia of ownership of the party; and (3) each publicly owned
company in which the party owns ten percent or more of the outstanding shares.
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      RESPONSE: The JAA Defendants are not a publicly owned company, are not owned
more than ten percent by any publicly owned company, and do not own more than ten
percent of any publicly owned company.

        (D)    State the basis for asserting the claim in the division in which it was filed (or the
basis of any challenge to the appropriateness of the division).

       RESPONSE: This action was filed in a state court located in this division.

      (E)      Is this action related in whole or in part to any other matter filed in this District,
whether civil or criminal?

       RESPONSE: No.

        (F)     If the defendant is improperly identified, give the proper identification and state
whether counsel will accept service of an amended summons and pleading reflecting the correct
identification.

       RESPONSE: The JAA Defendants are properly identified.

       (G)     If you contend that some other person or legal entity is, in whole or in part, liable
to you or the party asserting a claim against you in this matter, identify such person or entity and
describe the basis of said liability.

        RESPONSE: At this time, the JAA Defendants do not contend that they are liable
to Plaintiff, and they are investigating whether some other person or legal entity is liable to
Plaintiff.

                                              s/ J. Rutledge Young, III
                                              J. Rutledge Young, III (Fed Bar No. 7260)
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                                              ATTORNEYS FOR DEFENDANTS JEFF
                                              ANDERSON AND JEFF ANDERSON &
                                              ASSOCIATES, P.A.

October 11, 2017
Charleston, South Carolina




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